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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

ANDREW BABINSKI                                              NO.: 3:20-cv-426-SDD-EWD

VERSUS                                                       JUDGE SHELLY DICK

TODD QUEEN, ET AL.                                           MAGISTRATE ERIN WILDER-
                                                             DOOMES

                               MEMORANDUM IN OPPOSITION TO
                               DEFENDANTS’ MOTION TO DISMISS

MAY IT PLEASE THE COURT:

                                          INTRODUCTION

        In the same way the defendants, Kristin Sosnowsky, Shannon Walsh, John Fletcher, and

Alan Sikes, (collectively, “defendants”), effectively expelled Plaintiff Andrew Babinski,

(“Babinski”), from their theatre Ph.D. program to avoid dealing with his legitimate complaints,

the defendants here signal to the Court they have no interest in this litigation or defending their

actions that deprived a student of his academic and vocational future. The defendants appear to

believe that they are under no obligation to plead and prove affirmative defenses, to justify their

actions as legal exercises of their authority, or to make even a paltry showing as to the legality of

their actions. Defendants’ motion is simply another instance in a long pattern of substantially

mistreating Babinski that started when he refused to keep quiet about his ethical concerns.

Defendants silenced Babinski and now ask this Court to silence him again for seeking to vindicate

his rights.

        Babinski’s complaint states factual allegations that, if proven true, would entitle him to

relief. Sovereign immunity is not applicable here because the State of Louisiana is not a party and

because Babinski alleged claims against the defendants separately in their official and personal

capacities. Babinski’s paper is protected speech under either of the two potentially applicable


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standards, and the defendants must allege and prove affirmative defenses and show their conduct

in response to the speech was reasonable. Babinski does have a vested property right or liberty

interest in continued enrollment in the program and the defendants cannot arbitrarily expel him

without due process. The complaint sufficiently alleges claims for an equal protection violation

and conspiracy to violate Babinski’s rights because other students were given options to continue

their studies where Babinski was not, and the defendants acted in concert to refuse to teach

Babinski. And finally, qualified immunity is not appropriate here because the law on all these

points is sufficiently established, the defendants’ acts were so egregious that no reasonable

professor or administrator would believe they were legal, and the defendants have neither alleged

nor proven any facts or affirmative defenses that would bring their conduct into even

constitutionally questionable territory. In the alternative, and out of an abundance of caution, if the

complaint is inconsistent with the discussion contained in this memorandum, Babinski requests

leave of court to amend.

                                       LAW AND ARGUMENT

I.     Babinski’s complaint is sufficient under the federal rules of pleading

       A pleading must contain only a short and plain statement showing the pleader is entitled to

relief. Ashcroft v. Iqbal, 556 U.S. 662, 677-78 (2009) (citing Fed. R. Civ. P. 8(a)(2)). The facts

stated in the complaint must be plausible on their face, which means the factual content “allows

the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Id. (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007)).

       Babinski’s complaint contains twenty-three paragraphs of factual allegations. They discuss

at length Babinski’s selection of and enrollment in the Theatre Ph.D. program, (Rec. Doc. 1 at ¶

10-11), his excellent academic and disciplinary record before defendants violated his rights, (Rec.




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Doc. 1 at ¶12), misrepresentations the program and defendants made to Babinski, (Rec. Doc. 1 at

¶¶ 13-15), mistreatment of and retaliation against Babinski when he questioned the content of a

course in which he was enrolled, (Rec. Doc. 1 at ¶¶ 16-19), the circumstances surrounding

Babinski’s speech and a description of the nature of the speech, (Rec. Doc. 1 at ¶¶ 20-23), the

retaliatory actions defendants took against Babinski because of his speech (Rec. Doc. 1 at ¶¶ 24,

26-30), an objective finding by two neutral third parties that Babinski’s speech was not a cause for

concern and was not grounds for discipline, (Rec. Doc. 1 at ¶ 25), the circumstances surrounding

Babinski’s effective expulsion from the program due to the defendants’ arbitrary acts (Rec. Doc.

1 at ¶¶ 29-31), that Babinski was not given sufficient alternatives or options to continue in the

program, which options were given to other students similarly situated, (Rec. Doc. 1 at ¶ 30), that

the defendants acted in concert to refuse to teach him and prevent his continuation in the program

because of his speech, (Rec. Doc. 1 at ¶¶ 29, 31), that Babinski suffered damages as a result of the

defendants’ actions, (Rec. Doc. 1 at ¶¶ 32, 58), and all the formulaic elements of Babinski’s causes

of action (Rec. Doc. 1 at ¶ 33-57). Defendants cannot credibly say that Babinski’s complaint does

not state a claim for the causes of action alleged.

II.    The Eleventh Amendment does not bar Babinski’s suit against these defendants

       Neither the State of Louisiana nor its agencies or institutions are defendants in this suit.

Rather, Babinski has carefully pleaded both official-capacity and personal-capacity claims against

state officials, both of which this Court has subject matter jurisdiction to hear and neither of which

offend the Eleventh Amendment.

       A.      Ex Parte Young permits claims for prospective relief against state officials in
               their official capacities

       Suits seeking injunctive or prospective relief against state officials do not offend the

Eleventh Amendment. Sessions v. Rusk State Hosp., 648 F.2d 1066, 1069 (5th Cir. 1981) (citing



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Edelman v. Jordan, 415 U.S. 651 (1974); Ex Parte Young, 209 U.S. 123 (1908)). This is because

a state official who acts in violation of the U.S. Constitution is stripped of his official or

representative character under the Eleventh Amendment, making the suit not against the state but

against the offending officer. See Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 104

(1984) (citing Young, 209 U.S. at 160).

       Some of the claims Babinski makes against the defendants are in their official capacities.

(Rec. Doc. 1 at ¶¶ 59-64). These official capacity claims alleged in the complaint seek prospective

relief only; that is, Babinski’s reinstatement into the Theatre Ph.D. program and the removal of

unnecessary and unreasonable barriers to his completion of that program, along with attorney’s

fees. These claims are now and have always been acceptable in this Court because of federal

courts’ strong interest in vindicating the constitutional rights of citizens and holding state actors

accountable to the “supreme authority of the United States.” Id.

       B.      Defendants in their personal capacities are not arms of the state and are
               amenable to suit in federal court for personal liability and damages

       As to Babinski’s personal capacity claims, these claims are not considered to be “suits

against the state” because they are personal liability claims against individuals who caused

Babinski harm by violating his rights. The Supreme Court has already unanimously rejected the

defendants’ argument here, explicitly holding that “the Eleventh Amendment does not erect a

barrier against suits to impose individual and personal liability on state officials under [42 U.S.C.]

§ 1983.” Hafer v. Melo, 502 U.S. 21, 30–31 (1991).

       The Court also rejected defendants’ contention that state employees are not “persons”

under § 1983 and that acts taken in the discharge of a state official’s duties cannot lead to personal

liability. Hafer considered whether the Eleventh Amendment and § 1983 permitted a state official




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to be personally, individually liabile for damages when discharging her official duties. Finding in

the affirmative, the Supreme Court unanimously stated:

               We hold that state officials, sued in their individual capacities, are
               “persons” within the meaning of § 1983. The Eleventh Amendment
               does not bar such suits, nor are state officers absolutely immune
               from personal liability under § 1983 solely by virtue of the “official”
               nature of their acts.

Hafer, 502 U.S. at 31.

       As stated in the complaint, the claims against Shannon Walsh, John Fletcher, and Alan

Sikes are in their personal capacities. (Rec. Doc. 1 at ¶¶ 4-6). The claims against Kristin

Sosnowsky are in her personal and official capacities. (Rec. Doc. 1 at ¶ 3). The claims against

these defendants in their personal capacities, as the Supreme Court holds in Hafer, are not barred

by the Eleventh Amendment or § 1983 and should proceed.

III.   Babinski has stated a claim under the First Amendment regardless of the standard
       applied to his speech

       Defendants improperly characterize Babinski’s speech as completely unprotected under

the Supreme Court’s student speech framework post-Tinker v. Des Moines Independent

Community School District, 393 U.S. 503 (1969). But these assertions are wrong—they are a gross

oversimplification of the state of student speech jurisprudence and an incorrect description of the

rights and obligations of the parties. In fact, Babinski’s speech can be characterized in different

ways. Each standard offers Babinski’s performative paper at least some protection and requires

the defendants to act both proportionally and reasonably, which they did not do. Further, under

each standard, defendants are required to supply their justification for their acts as affirmative

defenses; they cannot rely on the Court to supply them. Regardless of the standard applied,

Babinski has stated a claim for relief, and defendants’ motion to dismiss should be denied.




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        Importantly, the three post-Tinker Supreme Court cases defendants cite concern speech by

minors to other minors in a public high school setting. See Morse v. Frederick, 551 U.S. 393 (2007)

(high school students suspended after unfurling a banner reading “BONG HiTS 4 JESUS” at a

public high school-sponsored event); Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260 (1988)

(high school principal properly excised articles about teen pregnancy and divorce from high school

newspaper); Bethel Sch. Dist. No. 403 v. Fraser, 478 U.S. 675 (1986) (high school student

suspended for delivering a speech to a high school student assembly containing “elaborate,

graphic, and explicit sexual metaphor[s]”). The Court in each instance predicated its decision at

least in part on the deleterious effects the speech could have on its young audience. Morse, 551

U.S. at 408 (noting “[t]he particular concern to prevent student drug abuse at issue here”);

Kuhlmeier, 484 U.S. at 274-75 (“It was not unreasonable for the principal to have concluded that

such frank talk was inappropriate in a school-sponsored publication distributed to 14–year–old

freshmen and presumably taken home to be read by students' even younger brothers and sisters.”);

Fraser, 478 U.S. at 683 (“The speech could well be seriously damaging to its less mature audience,

many of whom were only 14 years old and on the threshold of awareness of human sexuality.”).

        However, the Supreme Court has held for decades that “state colleges and universities are

not enclaves immune from the sweep of the First Amendment.” Healy v. James, 408 U.S. 169, 180

(1972). More pointedly, the Court affirms that “the mere dissemination of ideas—no matter how

offensive to good taste—on a state university campus may not be shut off in the name alone of

conventions of decency.” Papish v. Bd. Of Curators of Univ. of Mo., 410 U.S. 667, 670 (1973)

(internal quotations omitted). Even Chief Justice Burger, dissenting in Papish, recognized that

“[s]tudents are, of course, free to criticize the university, its faculty, or the Government in vigorous,

or even harsh, terms.” Papish, 410 U.S. at 672 (Burger, C.J., dissenting) (emphasis added).




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       Babinski’s speech is therefore entitled to protection, and the defendants were required to

act reasonably and proportionally to whatever effects that speech caused. But regardless of the

level of protection afforded or standard employed to evaluate Babinski’s speech, the defendants

were not allowed to effectuate Babinski’s de facto expulsion from the Ph.D. program by refusing

to maintain him in the program. Even assuming that Babinski was subject to some form of

discipline, which the LSU Office of Student Advocacy and Accountability twice found was not

appropriate, (Rec. Doc. 1 at ¶ 25), that discipline could not, under any applicable standard, be a

prohibition on continuing in his academic program and an effective expulsion. Babinski has

therefore stated a claim against the defendants for violation of his First Amendment rights.

       A.      Babinski’s performative paper was pure student speech and did not cause a
               substantial disruption

               1.      The Tinker/Burnside “substantial disruption” standard applies to
                       Babinski’s performative paper

       Babinski’s performative paper constitutes “student speech”; the speech occurred while

Babinski was a student at LSU and was made in connection with a campus activity. See Papish,

410 U.S. at 670; Tinker, 393 U.S. at 509. In such a case, the Fifth Circuit employs the “substantial

disruption” test it originally devised in Burnside v. Byars, 363 F.2d 744 (5th Cir. 1966), and the

Supreme Court adopted in Tinker, 393 U.S. at 513. See Jenkins v. La. State Bd. of Educ., 506 F.2d

992, 1002 (5th Cir. 1975) (applying Tinker/Burnside to disciplinary actions against students at

Grambling College); Shamloo v. Miss. State. Bd. of Trs. of Insts. of Higher Learning, 620 F.2d

516, 521-22 (5th Cir. 1980) (applying Tinker/Burnside to disciplinary action against Jackson State

University students for on-campus speech). This standard permits restriction of student speech

only when it causes, or is reasonably projected to cause, a substantial disruption to the campus

learning environment. Tinker, 393 U.S. at 509. In the absence of any contrary pronouncements by




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the Supreme Court or the Fifth Circuit, Tinker/Burnside provide the standard by which Babinski’s

claims must be evaluated.

       But the outer limits of acceptable speech on a public university campus is not coextensive

with that of a public high school. By the same token, a “substantial disruption” among minors in

high school is a much lower bar than that among adults in postgraduate courses. Judge Goldberg’s

dissent in Mississippi Gay Alliance v. Goudelock, 536 F.2d 1073 (5th Cir. 1976), recognized as

much: “[t]he tradition of academic freedom and the greater maturity of students on a college

campus suggest that courts should be particularly solicitous of first amendment rights in such a

setting. 536 F.2d 1073, 1079, n.8 (5th Cir. 1976) (Goldberg, J., dissenting) (citing Papish, 410

U.S. at 670). Defendants must therefore show that Babinski’s performative paper caused a serious

and material disruption to the learning environment of the theatre department.

       The fact that Babinski’s performative paper was submitted to his intended audience in the

context of a course assignment, as defendants claim, is irrelevant as neither the Supreme Court nor

the Fifth Circuit make such a distinction or hold that speech to be inferior to other forms of student

speech. Tinker assumes that its pronouncements apply to “the supervised and ordained discussion

which take place in the classroom” and goes on to specify that “conduct by the student, in class or

out of it, which for any reason . . . materially disrupts classwork or involves substantial disorder or

invasion of the rights of others is, of course, not immunized by the constitutional guarantee of

freedom of speech.” Tinker, 393 U.S. at 513 (emphasis added). A performative paper submitted to

a professor is unquestionably “conduct by [a] student in class”, to which Tinker must apply.

               2.      Babinski has pleaded facts that state a claim under Tinker/Burnside

       The facts as pleaded in the complaint show that Babinski’s performative paper was both

an expressive, literary device and a harsh criticism of the Ph.D. program’s faculty. Babinski




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specifically alleges that he “used ‘performative writing’ to express how he felt discrimination and

mistreatment when he expressed his views inside and outside of class.” (Rec. Doc. 1 at ¶ 20). He

alleges that he used a literary device known as “performative writing” that he learned through the

Ph.D. program as a mechanism to convey his message to the defendants who he felt were not

hearing his concerns. (Rec. Doc. 1 at ¶¶ 20-23). This is pure speech and is entitled to heightened

protections even in a university environment.

       Moreover, Babinski’s complaint pleads specific facts that show no substantial disruption

of the learning environment occurred. Babinski alleges that even though the LSU Police

Department reviewed his performative paper twice, it did not find actionable security issues

against anyone, including Babinski. (Rec. Doc. 1 at ¶ 25). Likewise, the LSU office charged with

disciplining students for conduct violations twice found no basis to take action against Babinski,

including refusing to issue a “no-contact directive” against Babinski toward individuals mentioned

in Babinski’s performative paper. Id. Nevertheless, instead of simply giving Babinski a zero on an

assignment that was deemed not to conform to its prompt, the defendants acted in concert to

effectively expel Babinski from the program and silence him after they learned they could not

expel him through ordinary channels. (Rec. Doc. 1 at ¶¶ 29-30). On its face, the complaint states

a claim against the defendants for violation of Babinski’s First Amendment rights.

       Finally, substantial disruption is an affirmative defense that must be properly pleaded and

proven by defendants. Predicating a motion to dismiss on an affirmative defense is not appropriate

unless the applicability of the defense is evident from the face of the complaint. McNeal v. La.

Dep't of Pub. Safety & Corr., CV 20-312-JWD-EWD, 2021 WL 359737, at *14 (M.D. La. Feb. 2,

2021). Defendants cannot use a motion to dismiss to escape their burden of pleading their defenses

and presenting evidence to support them.




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       B.      Even if Babinski’s performative paper constitutes “curricular speech”, the
               defendants did not act reasonably in response to it

               1.      This Court should not apply Kuhlmeier to Babinski’s performative
                       paper

       The Tinker “substantial disruption” standard is applicable to this case and should be used

to evaluate Babinski’s speech claims. Defendants urge this Court to stretch Kuhlmeier beyond its

logical limits and follow the Second Circuit’s decision of Collins v. Putt, 979 F.3d 128 (2d Cir.

2020), which appears to place few restraints on what speech is “school sponsored” even though

Kuhlmeier’s limitations are clearly established. Collins ignores the school-as-publisher

underpinnings of Kuhlmeier in favor of an expansive rule characterizing nearly all in-class speech

as that which one would “reasonably perceive to bear the imprimatur of the school . . . .” Collins,

979 F.3d at 134. Collins is not consistent with Kuhlmeier or Fifth Circuit precedent, and Kuhlmeier

is inapposite to the facts pleaded in the complaint.

       Kuhlmeier’s ultimate holding was that a high school principal could reasonably omit

certain articles from a school-sponsored newspaper. Kuhlmeier, 484 U.S. at 273. While the

Supreme Court discussed this holding in the context of an academic course for credit (the

newspaper was published through the high school’s journalism course), the operative question the

Court answered was “whether the First Amendment requires a school affirmatively to promote

particular student speech.” Id. at 270-71. The concern was an institution’s ability to regulate

messages disseminated to an audience that the audience may attribute to the institution itself rather

than individual speakers. See id. at 271-72 (“Educators are entitled to exercise greater control over

[school-sponsored] student expression to assure that participants learn whatever lessons the

activity is designed to teach, that readers or listeners are not exposed to material that may be

inappropriate for their level of maturity, and that the views of the individual speaker are not




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erroneously attributed to the school.”) The “imprimatur of the school” aspect of Kuhlmeier is its

most important element, a consideration wholly absent from Babinski’s performative paper.

       Further, as alleged in his complaint, Babinski’s performative paper was more than just

deemed a nonconforming academic assignment. Babinski intended and used his performative

paper as a way to reach the defendants and lodge complaints about the way he was treated and the

lack of academic integrity in the THTR 7923 course. (Rec. Doc. 1 at ¶ 20). The performative paper

was unquestionably what Chief Justice Burger considered to be harsh criticism of faculty in his

Papish dissent, discussed above. And yet, applying Kuhlmeier would create the absurdity that the

only mechanism whereby Babinski could ensure that his intended audience would hear his

legitimate academic concerns would result in less protection for his expression of those concerns.

       Finally, defendants’ own actions belie their characterization of Babinski’s paper as merely

curricular speech. If Babinski’s paper simply constituted an assignment submitted for class, then

why did the consequences extend so far outside the course for which the paper was submitted?

               2.     Even under the Kuhlmeier standard, defendants’ refusal to teach
                      Babinski and permit him to continue in the program were not
                      reasonably related to legitimate pedagogical concerns

       But even applying Kuhlmeier and its progeny to Babinski’s claims, his complaint still states

a cause of action against the defendants because their response to Babinski’s performative paper

so far exceeded any reasonable relation to legitimate pedagogical concerns. Had defendant

Shannon Walsh simply decided to give Babinski a zero on his performative paper, this would be a

vastly different case. However, when defendants took the harsh additional step of foreclosing

Babinski’s continuation in the Ph.D. program and discontinuing his academic benefits because of

his paper, they were no longer acting within the bounds of what is constitutionally permissible.




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       In cases involving curricular speech, the speech at issue does not lose all protection. Rather,

restriction of this speech is appropriate only when it is based on a “legitimate pedagogical

concern”. Kuhlmeier, 484 U.S. at 270-71. As a result, defendants are incorrect in their assertion

that this case should be dismissed at the pleadings stage. Applying this standard, it is the

defendants’ burden to plead and prove that the defendants’ acts that denied Babinski the ability to

continue in the theatre Ph.D. program were based on such a legitimate, non-pretextual pedagogical

concern. See Axson-Flynn v. Johnson, 356 F.3d 1277, 1291-93 (10th Cir. 2004).

       Under no set of circumstances could the facts as pleaded in the complaint (faculty

members’ collusion to deny a student’s continuation in an academic program because of a paper

that student wrote criticizing the faculty) be constitutionally appropriate. Indeed, of the handful of

cases adopting the curricular speech doctrine as a legitimate extension of Kuhlmeier, almost none

involve completely foreclosing a student’s ability to continue in an academic program. See, e.g.,

Collins, 979 F.3d at 171 (professor removed a student’s post from a message board); Brown v. Li,

308 F.3d 939, 945 (9th Cir. 2002) (student was not allowed to include a “disacknowledgements”

section in his thesis but still received his master’s degree); Settle v. Dickson Cty. Sch. Bd., 53 F.3d

152, 155 (6th Cir. 1995) (high school teacher could give a zero grade for a research paper on “The

Life of Jesus Christ” when the paper did not conform to the course assignment). The one case that

did involve a student’s foreclosure from continuing in a university program involved a student’s

ongoing refusal to participate in certain classroom activities because of the student’s beliefs, and

the court reversed summary judgment in the university’s favor on the student’s speech claim.

Axson-Flynn, 356 F.3d at 1291-93 (a Mormon student refused to recite profanity in acting courses,

and the faculty required the student to recite the words or find another program).




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       In sum, even if this Court chooses to apply the curricular speech doctrine, (which is not the

controlling Fifth Circuit standard), dismissal at the pleading stage is inappropriate. Babinski has

alleged in his complaint that he was effectively expelled from the Ph.D. program in retaliation for

a paper he wrote criticizing the department and its faculty. These consequences are so out of

proportion to the context in which the speech was made, and there is no evidence that his de facto

expulsion was related to a legitimate pedagogical concern. Babinski has made out a prima facie

case for violation of his First Amendment rights. The defendants must now plead and prove their

affirmative defenses; they cannot rely on the Court to supply them.

IV.    Continuing in the Ph.D. program is a vested property right, but if not, Babinski has
       a protected liberty interest that defendants injured without due process

       Defendants ask this Court to find that no process whatsoever is due to a student enrolled in

good standing in a graduate program of education before three faculty members may unilaterally

refuse to teach that student and end his progress toward his graduate degree. This is not a case of

a student removed from a program after persistent academic or disciplinary infractions, nor is it a

case where policies and procedures for discipline exist but were sloppily followed. Instead, three

professors, encouraged and assisted by their departmental superiors, and after finding no official

way to expel him, simply and plainly decided that they could end a student’s tenure in a program

to which the student was admitted after the student had completed four semesters of coursework.

       A.      Babinski’s vested property interest was LSU’s obligation to confer a Ph.D.
               degree upon him provided that he paid tuition, satisfied course requirements,
               and abided by LSU’s rules and regulations

       A synthesis of the relevant cases, including those defendants cite, leads to the conclusion

that Babinski’s admission to the theatre Ph.D. program, his payment of tuition (or rendering of

services in exchange for a tuition waiver), and his continued compliance with university

regulations and the requirements of his degree program vested a contractual property interest in



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proceeding toward his degree. The Supreme Court holds that property rights are determined and

defined by independent sources like state law or rules. Goss v. Lopez, 419 U.S. 565, 572-73 (1975)

(citing Bd. of Regents v. Roth, 419 U.S. 565, 577 (1972)). The Louisiana Civil Code’s provisions

on obligations and contracts provide the rules underpinning Babinski’s property interest in

continuing in the Ph.D. program toward his degree.

        Babinski’s enrollment at LSU is, in its most basic form, a contract. Upon enrollment,

Babinski agreed to pay tuition (or provide services in exchange for a tuition waiver), to abide by

university policies and procedures, and successfully complete the requirements for the degree of

Ph.D. in theatre. In return, LSU agreed to confer upon Babinski a theatre Ph.D. degree. This

agreement has all the elements of a bilateral contract under Louisiana law. La. Civ. Code art. 1908

(“A contract is bilateral . . . when the parties obligate themselves reciprocally, so that the obligation

of each party is correlative to the obligation of the other.”). By these principles, Babinski possesses

a conditional obligation enforceable against LSU, subject only to the conditions that he

successfully complete the Ph.D. program, comply with his tuition duties, and abide by LSU’s

policies and procedures. See La. Civ. Code art. 1767 (“If the obligation may not be enforced until

the uncertain event occurs, the condition is suspensive.”). Louisiana law gives Babinski every right

to preserve the enforceability of LSU’s obligation to him while he is pursuing his coursework. La.

Civ. Code art. 1771 (“The obligee of a conditional obligation, pending fulfillment of the condition,

may take all lawful measures to preserve his right.”). These considerations are the hallmarks of a

vested property right. As the Supreme Court holds, “[t]o have a property interest in a benefit, a

person . . . must have more than a unilateral expectation of it. He must, instead, have a legitimate

claim of entitlement to it.” Roth, 408 U.S. at 577. Louisiana law provides Babinski with a valid




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conditional obligation against LSU that he is allowed to protect until it becomes enforceable, a

relationship confirmed to Babinski by an LSU official.

        To the extent any of this is unclear from the complaint, Babinski requests leave of court to

amend his complaint to conform to the discussion above.

        B.      Courts assume a vested property interest against arbitrary harsh punishment

        There is clearly a protected interest at play in this case because the Supreme Court and

Fifth Circuit recognize that process should be due to Babinski before he can be effectively

expelled. On multiple occasions, the Supreme Court has assumed the existence of a vested property

right in the education context. See, e.g., Bd. of Curators of the Univ. of Mo. v. Horowitz, 435 U.S.

78, 82 (1978); Regents of Univ. of Michigan v. Ewing, 474 U.S. 214, 223 (1985). Further, in Smith

v. Davis, 507 Fed. Appx. 359, unpub. (5th Cir. 2013), a case heavily relied upon by defendants,

the Fifth Circuit recognized that due process in cases of severe sanction by academic institutions

is still owed to students:

                Most case law involving due process in the educational setting
                concerns student dismissals or suspensions from academic
                institutions. In such circumstances, the Supreme Court has held
                students are afforded limited due-process protections, in the form of
                an “informal give-and-take” between the student and the
                administrative body dismissing him that would, at least, give the
                student the opportunity to characterize his conduct and put it in what
                he deems the proper context.

Smith, 507 Fed. Appx. at 362 (internal quotations and citations omitted) (citing Horowitz, 435 U.S.

at 82; Goss, 419 U.S. at 584 (1975)). But unlike the plaintiff in Smith, Babinski was not simply

given a failing grade in a course—he was arbitrarily and capriciously prevented from continuing

toward his degree by the defendants even though he did not break any rules or default on his

obligations to LSU.




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       Note that Smith includes “suspensions” in the circumstances where the Fifth Circuit

recognizes that constitutional process is due. A suspension in the educational context is generally

understood as a disciplinary action whereby a student is excluded from campus for a set number

of days before returning to regular coursework. The student is not prevented from finishing his

degree program or otherwise arrested in his academic progress other than by the delays or

consequences incidental to his suspension. And yet the Supreme Court still holds that student is

entitled to due process because of the severe nature of the punishment.

       The other cases defendants cite do not involve sanctions as severe as those the defendants

imposed on Babinski. Nevares v. San Marcos Consolidated Independent School District, 111 F.3d

25 (5th Cir.1997), involved only the transfer of a high school student from a traditional school to

an alternative school; the end result of the student’s academic progress was still the same. Arundar

v. DeKalb County School District, 620 F.2d 493 (5th Cir. 1980) involved even more attenuated

interests: a high school student was not allowed to enroll in certain courses that could later

potentially lead to enrollment at an undetermined university in an undetermined “highly technical

field”. Arundar, 620 F.2d at 494. Finally, Barnes v. Symeonides, No. 94-30314, unpub. (5th Cir.

Jan. 3, 1995), 1995 WL 10518, does concern removal of a law student from the school’s rolls, but

this removal was due solely to nonpayment of tuition and fees after the student was given several

options to pay his outstanding debt. Barnes, No. 94-30314 at *1. Failure to pay tuition is a failure

of one of the conditions underlying the law school’s obligation to the student, making the student’s

obligation against the law school unenforceable. No rational person would question that dropping

the plaintiff for failure to pay tuition and fees was an appropriate exercise of the law school’s

authority, especially after the plaintiff was given “repeated extensions and warnings”. Id.




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       Whereas, in this case, the defendants wholly excluded Babinski from completing his course

of study and receiving his degree without allowing Babinski to “characterize [his] conduct” before

the defendants made a final, irreversible decision on his ultimate fate. This punishment is far worse

than a mere suspension with a subsequent return to academic progress—the defendants effectively

expelled Babinski from the Ph.D. program and prevented him from receiving his degree. To

suggest that no process is due Babinski here calls into question whether process is ever due a

student against arbitrary acts by faculty or administrators, or whether these officials may silence a

student and decide his academic fate by capricious fiat.

       C.      Babinski’s protected liberty interests were also violated

       Alternatively, this Court should permit Babinski to amend his complaint to allege a

protected liberty interest that defendants injured without due process. The Due Process Clause

protects both property and liberty interests from infringement by the government. “Where a

person's good name, reputation, honor, or integrity is at stake because of what the government is

doing to him, the minimal requirements of the [Due Process] Clause must be satisfied.” Goss, 419

U.S. at 574 (citing Wisconsin v. Constantineau, 400 U.S. 433, 437 (1971); Roth, 408 U.S. at 573

(internal quotations omitted)). Interests like standing and reputation in the community and the

ability to secure future employment are all liberty interests that the Due Process Clause protects.

Roth, 408 U.S. at 573.

       Babinski has already alleged that the defendants acted in concert to diminish his reputation

in the community. (Rec. Doc. 1 at ¶¶ 27-28). He has also alleged that the defendants deprived him

of professional benefits and opportunities through their actions. (Rec. Doc. 1 at ¶¶ 32, 63-64).

Subsequent to filing his complaint, Babinski has learned that at least one defendant has discussed

Babinski’s academic progress and performative paper with at least one person not involved in this




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case who is a student. This constitutes a continuing violation of Babinski’s rights and a continued

injury to his liberty interests in his reputation among his peers. Should the existing allegations of

the complaint not be sufficient to allege a protected liberty interest, Babinski requests leave of

court to amend his complaint to conform to the discussion above.

V.     Babinski has pleaded facts to show he was a class of one, but if not, he should be
       permitted to amend his petition to further state the facts underlying his Equal
       Protection claim

       As described above, Babinski alleged that he was misled and was not given opportunities

to continue in the Ph.D. program even though other LSU students were given these opportunities.

(Rec. Doc. 1 at ¶ 30). To state a claim for violation of equal protection based on disparate treatment

of a “class of one”, a plaintiff must only allege that he was treated differently than others similarly

situated without a rational justification. See, e.g., Sioux City Bridge Co. v. Dakota Cty., Neb., 260

U.S. 441, 446 (1923); Allegheny Pittsburgh Coal Co. v. Comm’n of Webster Cty., 488 U.S. 336

(1989); Village of Willowbrook v. Olech, 528 U.S. 562, 564 (2000).

       In the alternative, Babinski requests leave of court to amend his complaint to clarify and

expound upon the allegations made. Babinski, out of respect for nonparties to this suit, and hoping

to prevent the defendants from also retaliating against those who are current students, refrained in

his complaint from referring to specific persons who advised Babinski and shared information

about disparate treatment of other students. But defendants have forced Babinski’s hand. Babinski

can allege that he was specifically advised by representatives of LSU, including its ombudsperson

and senior vice-provost, and by other students of situations where students were allowed to

circumvent obstructionist faculty and assemble a dissertation committee using non-Ph.D. faculty.

Babinski was further specifically advised by an authority from the graduate school that alternative

accommodations for general exams should be made. Some of these options were denied to




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Babinski after he asked about them, which shows disparate treatment from similarly situated

students. Babinski can and will provide more specific allegations on this point with the Court’s

permission.

VI.    The complaint clearly states facts giving rise to a claim for conspiracy to violate
       Babinski’s constitutional rights

       Babinski has pleaded facts that give rise to a claim for conspiracy. Importantly, as this

Court notes, a claim for conspiracy under § 1983 “need not meet a probability requirement at the

pleading stage; plausibility simply calls for enough facts to raise a reasonable expectation that

discovery will reveal evidence of illegal agreement.” Lefebure v. Booker, 390 F. Supp. 3d 729,

763 (M.D. La. 2019) (Dick, J.) (internal quotations omitted) (quoting Jabary v. City of Allen, 547

Fed. Appx. 600, 610 (5th Cir. 2013)), rev’d on other grounds sub. nom, Lefebure v. D’Aquilla,

No. 19-30702, (5th Cir. Feb. 9, 2021); 2021 WL 457798. Rather, the facts pleaded and considered

in context must raise the suggestion of a prior agreement, not merely “parallel conduct that could

just as well be independent action.” Id.

       In paragraph 29 of the complaint, Babinski alleges that Defendants Walsh, Fletcher, and

Sikes, acting in concert, and after learning there were no grounds to expel Babinski from LSU,

collectively refused to further teach Babinski, administer his general exams, or serve on his

dissertation committee, which was calculated to prevent Babinski’s continued progress and in

which Defendant Sosnowsky participated and condoned. (Rec. Doc. 1 at ¶¶ 29-30). The complaint

further states that these three defendants make up three-fourths of the program’s Ph.D. faculty. Id.

On information and belief, these defendants continued in their collective refusal to teach Babinski

even after he made overtures to them. (Rec. Doc. 1 at ¶ 31). These facts, coupled with Babinski’s

allegation that the defendants conspired to violate his rights through correspondence and other

acts, (Rec. Doc. 1 at ¶ 56), are sufficient to state a claim that these defendants, in various



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combinations and acting in concert, 1) acted to deprive Babinski of his rights by refusing to teach

him or administer his general exams because of his performative paper, 2) collectively retaliated

against Babinski for his speech, 3) collectively refused Babinski the opportunity to be heard on

their unilateral decision, 4) collectively deprived Babinski of the liberty or property interest of

continuing in the Ph.D. program and the liberty interest of pursuing his chosen profession and of

his reputation, and 5) collectively treated Babinski differently from other students similarly

situated. These facts defeat the suggestion the defendants were all acting independently and did

not conspire, collude, or act in concert to deprive Babinski of his rights.

       In the alternative, and only if this Court determines that the allegations in the complaint are

not sufficiently precise, Babinski requests leave of court to amend his complaint to clarify and

expound upon the allegations made. Babinski can allege specific communications from and

correspondence between the defendants wherein they discuss actions to be taken against him and

show a plan to act in concert to deny his continuation in the program, because Babinski has these

emails in his possession.

VII.   Qualified Immunity is inappropriate because Babinski’s complaint states causes of
       action for the blatant violation of his rights and those rights were clearly established

       As defendants correctly state, qualified immunity requires a two-part analysis: (1) whether

a constitutional right was violated, and (2) whether that right was clearly established at the time of

the alleged violation. Sims v. City of Madisonville, 894 F.3d 632, 638 (5th Cir. 2018). As discussed

at length above, Babinski has clearly stated claims that the defendants violated his constitutional

rights. Further, these rights were bolstered by decades of precedent such that any reasonable actor

in the defendants’ situation would have to know the defendants’ actions were contrary to law.

Here, defendants cannot credibly claim that they did not know they could not effectively expel




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Babinski for a paper he wrote that they did not like. This Court should therefore deny defendants’

claim of qualified immunity.

       Qualified immunity serves an important purpose, but it is not absolute. The Supreme Court

recognizes that the doctrine should only apply to those government officials who “perform their

duties reasonably.” Pearson v. Callahan, 555 U.S. 223, 231 (2009). On the other hand, a

government official who abuses her office is rightly subject to an action for damages, which is

often the only avenue to vindicate an injured person’s rights. Anderson v. Creighton, 483 U.S. 635,

638 (1987) (citing Harlow v. Fitzgerald, 457 U.S. 800, 814 (1982)).

       As the discussion above shows, defendants violated Babinski’s constitutional rights in

several respects based on the allegations of the complaint. Babinski adopts by reference sections

III through VI in support of the first element of the qualified immunity analysis, i.e., whether his

constitutional rights were violated.

       A.      The contours of Babinski’s rights have been well-established for decades, and
               defendants cannot credibly claim they believed their acts were permissible

       As a threshold matter, this is not a situation where identical factual precedent is required

to satisfy the “clearly established” element of qualified immunity. The inquiry on Babinski’s claim

is not some nebulous “reasonableness” or “totality of the circumstances” standard, but rather well-

defined jurisprudential tests that analyze the allegations of the complaint and the affirmative

defenses pleaded and proved by the defendants. In cases outside the realm of the Fourth

Amendment, exact factual similarity to a precedent case is not required. See Mitchell v. Forsyth,

472 U.S. 511, 535, n. 12 (1985). Rather, as the Supreme Court holds, “in the light of pre-existing

law the unlawfulness must be apparent.” Hope v. Pelzer, 536 U.S. 730, 739 (2002). The guiding

principle behind a “clearly established” inquiry is whether the offending officer had “fair notice”

that her conduct was unlawful. Id. at 739-40.



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       What is most important in a qualified immunity analysis is whether the rule is sufficiently

clear and settled law. Dist. of Columbia v. Wesby, 138 S.Ct. 577, 589-90 (2018) (“The rule must

be settled law . . . it is not enough that the rule is suggested by then-existing precedent . . . the

precedent must be clear enough [] to establish the rule . . . .” (emphasis added)). But unlike

probable cause in the Fourth Amendment context, the law underlying Babinski’s claims can, and

has, been “reduced to a neat set of legal rules.” Id. at 590 (citing Illinois v. Gates, 462 U.S. 213,

232 (1983)). And these rules are so prevalent in the realm of students’ rights that no reasonable

professor or university administrator could conclude that Babinski could be effectively expelled

from a program for a paper he wrote criticizing the program’s faculty after the university’s

disciplinary apparatus declined to discipline him. See Taylor v. Riojas, 141 S.Ct. 52, 53-54 (2020)

(quoting Hope, 536 U.S. at 741 (“a general constitutional rule already identified in the decisional

law may apply with obvious clarity to the specific conduct in question”)).

       As to Babinski’s First Amendment claims, both of the potentially applicable standards

discussed above, the Tinker/Burnside substantial disruption standard and the Kuhlmeier

“legitimate pedagogical concern” standard, have been in use and applicable to student speech for

over sixty and thirty years, respectively. In fact, the Fifth Circuit has applied Tinker to university

on-campus speech for forty-six years. See Jenkins, 506 F.2d at 992 (decided in 1975). But even if

this Court decides that Kuhlmeier’s more restrictive “curricular speech” doctrine applies, other

circuits have applied this standard since at least the 1990s. See Settle, 53 F.3d at 152 (decided in

1995). The rule here, regardless of which standard is applied, is clear and demonstrates that the

defendants violated Babinski’s rights.

       Likewise, the requirement that schools afford due process to students facing severe

academic sanctions like suspension or expulsion and the pattern of assuming a vested property




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right in continued education has been established law since at least 1978. See Horowitz, 435 U.S.

at 78 (decided in 1978). And the Fifth Circuit’s requirement for “informal give-and-take between

the student and the administrative body dismissing him” has been established law since at least

2013. Smith, 507 Fed. Appx. at 359 (decided in 2013). Finally, the liberty interests of reputation

and pursuit of future employment opportunities have been recognized by the Supreme Court for

almost fifty years. Roth, 419 U.S. at 577 (decided in 1972). The constitutional right of equal

protection concerning a “class of one” is likewise firmly rooted in American constitutional law for

nearly a century. See, e.g., Sioux City Bridge Co. v. Dakota Cty., Neb., 260 U.S. 441, 446 (1923);

Allegheny Pittsburgh Coal Co. v. Comm’n of Webster Cty., 488 U.S. 336 (1989); Village of

Willowbrook v. Olech, 528 U.S. 562, 564 (2000).

           The defendants here were not officers in the field making split-second life-or-death

decisions. They had months to carefully consider and research the actions they took against

Babinski. The entire wealth of knowledge of the internet was at the defendants’ disposal, as were

multiple LSU campus libraries, one of which is devoted solely to law. 1 And most damning of all,

defendants had the benefit of the LSU Department of Legal Affairs and General Counsel for advice

and consultation. 2 All of these resources would have surely counseled against the defendants’ rash

course of action, but there is no evidence the defendants did any thoughtful consideration before

arbitrarily choosing to end a student’s academic progress. The result is acts by the defendants that

would shock the conscience of reasonable educators, students, and neutral observers.




1
    https://www.lib.lsu.edu.
2
    https://www.lsu.edu/general-counsel/.


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       B.      Alternatively, dismissal under qualified immunity is inappropriate at this
               stage of this litigation because qualified immunity will depend on defendants’
               yet-to-be-pleaded affirmative defenses

       Qualified immunity is an affirmative defense that must be pleaded by a government

official. Siegert v. Gilley, 500 U.S. 226, 232 (1991). When qualified immunity is claimed as a basis

for a motion to dismiss, the court can only base its decision on the facts pleaded in the complaint

and the applicable law. When entitlement to qualified immunity depends on further factual

development, the court may deny qualified immunity and order discovery tailored to determine

whether immunity is appropriate. Backe v. LeBlanc, 691 F.3d 645, 648 (5th Cir. 2012). Of course,

the court must first be satisfied that the complaint pleads sufficient facts that, if proven true, would

defeat a qualified immunity defense. Id.

       Defendants here expect the Court to do their work for them by supplying their affirmative

defenses and rationale for their acts. As discussed above, the law underpinning Babinski’s claims

is well-settled and requires defendants to plead and prove justifications for their acts. Babinski

cannot be reasonably expected to respond to defendants’ claimed defenses and rationale for their

actions when defendants won’t even advise the court of their nature. What was the substantial

disruption Babinski’s performative paper allegedly caused? What disruption do defendants claim

could foreseeably occur in the future, and how can they determine that it reasonably would occur?

What is defendants’ justification for not approaching Babinski to give him a chance to characterize

his behavior and why did they refuse to meet with him when he repeatedly asked? What was the

legitimate pedagogical concern underpinning defendants’ decision to end Babinski’s progress in

the Ph.D. program? What was the rational basis for refusing to permit Babinski alternatives to

continue toward his degree? All of these questions are important to the court’s analysis, and yet

defendants have answered none of them.




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       Qualified immunity is inappropriate here and should be denied. But, out of an abundance

of caution and only if the Court is inclined to entertain qualified immunity in this case, the Court

should require defendants to plead and offer factual support for their affirmative defenses first.

                                           CONCLUSION

       Babinski has stated claims for relief on all the counts in his complaint, as discussed in detail

above. But to the extent this Court finds that Babinski’s complaint does not sufficiently state the

facts and principles outlined herein, Babinski requests leave to amend his complaint to conform to

the discussion in this memorandum.

                                                      Respectfully Submitted:


                                                      __________________________________
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                         CERTIFICATE OF ELECTRONIC FILING

       I hereby certify that on March 2, 2021, a copy of the forgoing Memorandum in Opposition

to Motion to Dismiss was filed electronically with the Clerk of Court using the CM/ECF system.

       All counsel will be served through the CM/ECF system. There are no non-CM/ECF

participants.

                                                      ___________________________________
                                                      Evan J. Bergeron




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